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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 22-MJ-241-1 (MAU)
                                                  :
             v.                                   :    VIOLATION:
                                                  :    40 U.S.C. § 6134
 EMILY ARCHER PATERSON,                           :    (Speeches and Objectionable Language in
                                                  :    the Supreme Court Building and Grounds)
                   Defendant.                     :
                                                  :



                                      INFORMATION

       The United States Attorney charges that:


                                        COUNT ONE

       On or about November 2, 2022, within the District of Columbia, EMILY ARCHER

PATERSON did unlawfully, knowingly, and intentionally make a harangue or oration, or utter

loud, threatening, or abusive language in the Supreme Court Building or grounds.

       (Speeches and Objectionable Language in the Supreme Court Building, in violation
       of Title 40, United States Code, Section 6134)

                                                      Respectfully submitted,


                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar No. 481052

                                                      /s/ Meredith E. Mayer-Dempsey
                                                      MEREDITH E. MAYER-DEMPSEY
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